Filed 06/23/20                                                         Case 20-22209                                                                         Doc 30
                                                                                                                                                   6/23/20 4:23PM




  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)      20-22209                                        Chapter      11
                                                                                                                                Check if this an
                                                                                                                                amended filing




 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              04/20
 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
 known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


  1.   Debtor's name                Bimbo and Sons Corporation

  2.   All other names debtor
       used in the last 8 years
       Include any assumed
       names, trade names and
       doing business as names

  3.   Debtor's federal
       Employer Identification      XX-XXXXXXX
       Number (EIN)


  4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                    business

                                    353 Rosebriar Place
                                    Lathrop, CA 95330
                                    Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                    San Joaquin                                                     Location of principal assets, if different from principal
                                    County                                                          place of business
                                                                                                    1022 FRONTAGE ROAD Ripon, CA 95366
                                                                                                    Number, Street, City, State & ZIP Code


  5.   Debtor's website (URL)


  6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other. Specify:




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  Debtor    Bimbo and Sons Corporation                                                                   Case number (if known)    20-22209
            Name



  7.   Describe debtor's business        A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            None of the above

                                         B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.uscourts.gov/four-digit-national-association-naics-codes.



  8.   Under which chapter of the        Check one:
       Bankruptcy Code is the
                                            Chapter 7
       debtor filing?
                                            Chapter 9

       A debtor who is a “small             Chapter 11. Check all that apply:
       business debtor” must check
       the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
       defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
       elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
       subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
       (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
       “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
       check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                   balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                   any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12

  9.   Were prior bankruptcy                No.
       cases filed by or against
       the debtor within the last 8         Yes.
       years?
       If more than 2 cases, attach a
       separate list.                               District                                When                                  Case number
                                                    District                                When                                  Case number


  10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an                Yes.
      affiliate of the debtor?
       List all cases. If more than 1,
       attach a separate list                       Debtor                                                                    Relationship
                                                    District                                When                              Case number, if known


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  Debtor   Bimbo and Sons Corporation                                                                Case number (if known)   20-22209
           Name



  11. Why is the case filed in    Check all that apply:
      this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                           preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

  12. Does the debtor own or          No
      have possession of any
      real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                      Yes.
      property that needs
      immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                 What is the hazard?
                                                  It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                 livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                  Other
                                               Where is the property?
                                                                                Number, Street, City, State & ZIP Code
                                               Is the property insured?
                                                  No
                                                  Yes.    Insurance agency
                                                          Contact name
                                                          Phone



           Statistical and administrative information

  13. Debtor's estimation of      .         Check one:
      available funds
                                               Funds will be available for distribution to unsecured creditors.

                                               After any administrative expenses are paid, no funds will be available to unsecured creditors.


  14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
      creditors                                                                        5001-10,000                                 50,001-100,000
                                      50-99
                                      100-199                                          10,001-25,000                               More than100,000
                                      200-999

  15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                      $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                      $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


  16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                      $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                      $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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  Debtor    Bimbo and Sons Corporation                                                               Case number (if known)   20-22209
            Name



            Request for Relief, Declaration, and Signatures

  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
             imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

  17. Declaration and signature
      of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
      representative of debtor
                                   I have been authorized to file this petition on behalf of the debtor.

                                   I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                   I declare under penalty of perjury that the foregoing is true and correct.

                                   Executed on      June 23, 2020
                                                    MM / DD / YYYY


                               X   /s/ BALWINDHER PRASHER                                                   BALWINDHER PRASHER
                                   Signature of authorized representative of debtor                         Printed name

                                   Title   PRESIDENT




  18. Signature of attorney    X   /s/ Chinonye U Ugorji                                                     Date June 23, 2020
                                   Signature of attorney for debtor                                               MM / DD / YYYY

                                   Chinonye U Ugorji 244811
                                   Printed name

                                   Nonye Ugorji Law Corporation
                                   Firm name

                                   2775 Cottage Way, Suite 36
                                   Sacramento, CA 95825-3364
                                   Number, Street, City, State & ZIP Code


                                   Contact phone     9169251894                    Email address      nonyelawcorp@gmail.com

                                   244811 CA
                                   Bar number and State




  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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     Fill in this information to identify the case:

     Debtor name            Bimbo and Sons Corporation

     United States Bankruptcy Court for the:                       EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)               20-22209
                                                                                                                                                                                           Check if this is an
                                                                                                                                                                                           amended filing



    Official Form 206Sum
    Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

     Part 1:      Summary of Assets


     1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

           1a. Real property:
               Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

           1b. Total personal property:
               Copy line 91A from Schedule A/B.........................................................................................................................                     $           505,108.32

           1c. Total of all property:
               Copy line 92 from Schedule A/B...........................................................................................................................                    $           505,108.32


     Part 2:      Summary of Liabilities


     2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
           Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           728,000.00


     3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

           3a. Total claim amounts of priority unsecured claims:
               Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

           3b. Total amount of claims of nonpriority amount of unsecured claims:
               Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           149,741.22


     4.    Total liabilities .......................................................................................................................................................
           Lines 2 + 3a + 3b                                                                                                                                                           $             877,741.22




     Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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     Fill in this information to identify the case:

     Debtor name         Bimbo and Sons Corporation

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)         20-22209
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



    Official Form 206A/B
    Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
    Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
    Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
    which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
    or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
    the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
    additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

     For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
     schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
     debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
     Part 1:      Cash and cash equivalents
    1. Does the debtor have any cash or cash equivalents?

            No. Go to Part 2.
             Yes Fill in the information below.
          All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                           debtor's interest

     3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
               Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                                number


               3.1.     Bank of the West                                        Checking                        1521                                     $1,608.32



     4.        Other cash equivalents (Identify all)

     5.        Total of Part 1.                                                                                                                      $1,608.32
               Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

     Part 2:          Deposits and Prepayments
    6. Does the debtor have any deposits or prepayments?

            No. Go to Part 3.
            Yes Fill in the information below.


     Part 3:          Accounts receivable
    10. Does the debtor have any accounts receivable?

            No. Go to Part 4.
            Yes Fill in the information below.


     Part 4:          Investments
    13. Does the debtor own any investments?

            No. Go to Part 5.
            Yes Fill in the information below.
    Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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     Debtor         Bimbo and Sons Corporation                                                    Case number (If known) 20-22209
                    Name




     Part 5:        Inventory, excluding agriculture assets
    18. Does the debtor own any inventory (excluding agriculture assets)?

            No. Go to Part 6.
            Yes Fill in the information below.


     Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
    27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

            No. Go to Part 7.
            Yes Fill in the information below.


     Part 7:        Office furniture, fixtures, and equipment; and collectibles
    38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

            No. Go to Part 8.
            Yes Fill in the information below.

               General description                                                Net book value of      Valuation method used      Current value of
                                                                                  debtor's interest      for current value          debtor's interest
                                                                                  (Where available)

     39.       Office furniture
               1 Computer desk                                                                  $0.00    N/A                                      $500.00


               3 Office Chairs                                                                  $0.00                                             $500.00



     40.       Office fixtures

     41.       Office equipment, including all computer equipment and
               communication systems equipment and software
               1 Filing Cabinet                                                                 $0.00    N/A                                      $500.00



     42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
               books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
               collections; other collections, memorabilia, or collectibles

     43.       Total of Part 7.                                                                                                                $1,500.00
               Add lines 39 through 42. Copy the total to line 86.

     44.       Is a depreciation schedule available for any of the property listed in Part 7?
                   No
                   Yes

     45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
                   No
                   Yes

     Part 8:        Machinery, equipment, and vehicles
    46. Does the debtor own or lease any machinery, equipment, or vehicles?

            No. Go to Part 9.
            Yes Fill in the information below.


    Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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     Debtor         Bimbo and Sons Corporation                                                    Case number (If known) 20-22209
                    Name

                General description                                               Net book value of      Valuation method used      Current value of
                Include year, make, model, and identification numbers             debtor's interest      for current value          debtor's interest
                (i.e., VIN, HIN, or N-number)                                     (Where available)

     47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

                47.1.    2020 Ford F-150                                                        $0.00    Comparable sale                      $62,000.00


                47.2.    2018 Volvo 443 Truck                                                   $0.00    Comparable sale                      $70,000.00


                47.3.    2018 Volvo 445 Truck                                                   $0.00    Comparable sale                      $70,000.00


                47.4.    2018 Wabash 3829 Trailer                                               $0.00    Comparable sale                      $60,000.00


                47.5.    2018 Wabash 3830 Trailer                                               $0.00    Comparable sale                      $60,000.00


                47.6.    2018 Wabash 3832 Trailer                                               $0.00    Comparable sale                      $60,000.00


                47.7.    2018 Volvo 3831 Trailer                                                $0.00    Comparable sale                      $60,000.00



     48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
                floating homes, personal watercraft, and fishing vessels

     49.        Aircraft and accessories


     50.        Other machinery, fixtures, and equipment (excluding farm
                machinery and equipment)
                2018 Wabash 3834 Trailer                                                        $0.00    Comparable sale                      $60,000.00



     51.        Total of Part 8.                                                                                                         $502,000.00
                Add lines 47 through 50. Copy the total to line 87.

     52.        Is a depreciation schedule available for any of the property listed in Part 8?
                   No
                   Yes

     53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
                   No
                   Yes

     Part 9:        Real property
    54. Does the debtor own or lease any real property?

            No. Go to Part 10.
            Yes Fill in the information below.


     Part 10:       Intangibles and intellectual property
    59. Does the debtor have any interests in intangibles or intellectual property?

            No. Go to Part 11.
            Yes Fill in the information below.
    Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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     Debtor         Bimbo and Sons Corporation                                                   Case number (If known) 20-22209
                    Name




     Part 11:       All other assets
    70. Does the debtor own any other assets that have not yet been reported on this form?
        Include all interests in executory contracts and unexpired leases not previously reported on this form.

            No. Go to Part 12.
            Yes Fill in the information below.




    Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 4
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     Debtor          Bimbo and Sons Corporation                                                                          Case number (If known) 20-22209
                     Name



     Part 12:        Summary

    In Part 12 copy all of the totals from the earlier parts of the form
          Type of property                                                                               Current value of                    Current value of real
                                                                                                         personal property                   property

     80. Cash, cash equivalents, and financial assets.
         Copy line 5, Part 1                                                                                              $1,608.32

     81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

     82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

     83. Investments. Copy line 17, Part 4.                                                                                      $0.00

     84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

     85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

     86. Office furniture, fixtures, and equipment; and collectibles.
         Copy line 43, Part 7.                                                                                            $1,500.00

     87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $502,000.00

     88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

     89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

     90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

     91. Total. Add lines 80 through 90 for each column                                                            $505,108.32           + 91b.                      $0.00


     92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $505,108.32




    Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
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     Fill in this information to identify the case:

     Debtor name         Bimbo and Sons Corporation

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)             20-22209
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

    Official Form 206D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
    Be as complete and accurate as possible.
    1. Do any creditors have claims secured by debtor's property?
             No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
             Yes. Fill in all of the information below.
     Part 1:      List Creditors Who Have Secured Claims
                                                                                                                        Column A                    Column B
     2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
     claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                    that supports this
                                                                                                                        Do not deduct the value     claim
                                                                                                                        of collateral.
     2.1   Ally Financial                                 Describe debtor's property that is subject to a lien                   $76,000.00                $62,000.00
           Creditor's Name                                2020 Ford F-150
           P. O. Box 380902
           Minneapolis, MN 55438
           Creditor's mailing address                     Describe the lien
                                                          Purchase Money Security
                                                          Is the creditor an insider or related party?
                                                             No
           Creditor's email address, if known                 Yes
                                                          Is anyone else liable on this claim?
           Date debt was incurred                            No
           2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
           Last 4 digits of account number
           4941
           Do multiple creditors have an                  As of the petition filing date, the claim is:
           interest in the same property?                 Check all that apply
               No                                            Contingent
               Yes. Specify each creditor,                   Unliquidated
           including this creditor and its relative          Disputed
           priority.



           BMO Transportation
     2.2                                                  Describe debtor's property that is subject to a lien                 $160,000.00                 $70,000.00
           Finance
           Creditor's Name                                Two Volvo Trucks
           3925 Fountains Boulevard
           NE
           Cedar Rapids, IA 52411
           Creditor's mailing address                     Describe the lien
                                                          Lease to Own
                                                          Is the creditor an insider or related party?
                                                             No
           Creditor's email address, if known                 Yes
                                                          Is anyone else liable on this claim?
           Date debt was incurred                            No
           2018                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
           Last 4 digits of account number
           Various
           Do multiple creditors have an                  As of the petition filing date, the claim is:
           interest in the same property?                 Check all that apply


    Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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     Debtor       Bimbo and Sons Corporation                                                              Case number (if known)      20-22209
                  Name

                No                                           Contingent
                Yes. Specify each creditor,                  Unliquidated
            including this creditor and its relative         Disputed
            priority.



            US Bank Equipment
     2.3                                                                                                                           $256,000.00            Unknown
            Finance                                       Describe debtor's property that is subject to a lien
            Creditor's Name

            1310 Madrid Street
            Marshall, MN 56258
            Creditor's mailing address                    Describe the lien
                                                          Log Book Contract
                                                          Is the creditor an insider or related party?
                                                             No
            Creditor's email address, if known                Yes
                                                          Is anyone else liable on this claim?
            Date debt was incurred                           No
            2018                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
            Last 4 digits of account number
            0000
            Do multiple creditors have an                 As of the petition filing date, the claim is:
            interest in the same property?                Check all that apply
                No                                           Contingent
                Yes. Specify each creditor,                  Unliquidated
            including this creditor and its relative         Disputed
            priority.



            Wabash National Financial
     2.4                                                  Describe debtor's property that is subject to a lien                     $236,000.00            $60,000.00
            Services
            Creditor's Name                               4 Trailers with total value of $245,000.00
            655 Business Center Drive,
            Suite 250
            Horsham, PA 19044
            Creditor's mailing address                    Describe the lien
                                                          Purchase Money Security
                                                          Is the creditor an insider or related party?
                                                             No
            Creditor's email address, if known                Yes
                                                          Is anyone else liable on this claim?
            Date debt was incurred                           No
            2019                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
            Last 4 digits of account number

            Do multiple creditors have an                 As of the petition filing date, the claim is:
            interest in the same property?                Check all that apply
                No                                           Contingent
                Yes. Specify each creditor,                  Unliquidated
            including this creditor and its relative         Disputed
            priority.



     3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $728,000.00

     Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
     List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
     assignees of claims listed above, and attorneys for secured creditors.

     If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.




    Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 3
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     Debtor       Bimbo and Sons Corporation                                                Case number (if known)      20-22209
                  Name

            Name and address                                                                        On which line in Part 1 did       Last 4 digits of
                                                                                                    you enter the related creditor?   account number for
                                                                                                                                      this entity




    Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3 of 3
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     Fill in this information to identify the case:

     Debtor name         Bimbo and Sons Corporation

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)           20-22209
                                                                                                                                                       Check if this is an
                                                                                                                                                       amended filing


    Official Form 206E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
    List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
    Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
    2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

     Part 1:      List All Creditors with PRIORITY Unsecured Claims

           1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

                 No. Go to Part 2.

                 Yes. Go to line 2.


     Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
           3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
              out and attach the Additional Page of Part 2.
                                                                                                                                                          Amount of claim

     3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $1.00
               Alpin Patel
               c/o Bishop & Barry                                                   Contingent
               A Professional Law Corporation                                       Unliquidated
               6001 Shellmound Street, Ste. 875                                     Disputed
               Emeryville, CA 94608
                                                                                 Basis for the claim:    Personal Injury Claim
               Date(s) debt was incurred 2019
               Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


     3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
               Bishop & Barry                                                       Contingent
               A Professional Law Corporation                                       Unliquidated
               6001 Shellmound Street, Suite 875
                                                                                    Disputed
               Emeryville, CA 94608
               Date(s) debt was incurred
                                                                                 Basis for the claim:    Law Suit
               Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

     3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $1.00
               Brian Payton
               c/o Bishop & Barry                                                   Contingent
               A Professional Corporation                                           Unliquidated
               6001 Shellmound Street, Suite 875                                    Disputed
               Emeryville, CA 94608
                                                                                 Basis for the claim:    Personal Injury Claim
               Date(s) debt was incurred 2019
               Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


     3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $28,474.97
               Chase                                                                Contingent
               P. O. Box 15548                                                      Unliquidated
               Wilmington, DE 19886
                                                                                    Disputed
               Date(s) debt was incurred 2018
                                                                                 Basis for the claim:    Credit Purchases
               Last 4 digits of account number      4375
                                                                                 Is the claim subject to offset?       No     Yes




    Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 3
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     Debtor       Bimbo and Sons Corporation                                                              Case number (if known)            20-22209
                  Name

     3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
               Dominic Gittens                                                      Contingent
               c/o The Kick Law Firm                                                Unliquidated
               815 Morage Drive
                                                                                    Disputed
               Los Angeles, CA 90049
               Date(s) debt was incurred
                                                                                 Basis for the claim:    Employment Lawsuit
               Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes

     3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
               KeepTruckin                                                          Contingent
               55 Hawthorne Street                                                  Unliquidated
               4th Floor
                                                                                    Disputed
               San Francisco, CA 94105
               Date(s) debt was incurred 2019
                                                                                 Basis for the claim:    Fleet Tracking Device
               Last 4 digits of account number      Unknown                      Is the claim subject to offset?     No       Yes

     3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $4,960.18
               State Funds/NCCS                                                     Contingent
               700 Leisure Lane                                                     Unliquidated
               Attention: Luther Happ
                                                                                    Disputed
               Sacramento, CA 95815
               Date(s) debt was incurred 2019
                                                                                 Basis for the claim:    Collections
               Last 4 digits of account number      Unknown                      Is the claim subject to offset?     No       Yes

     3.8       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $15,000.00
               Wells Fargo Bank, N.A.                                               Contingent
               P. O. Box 60510                                                      Unliquidated
               Los Angeles, CA 90060-0510
                                                                                    Disputed
               Date(s) debt was incurred
                                                                                 Basis for the claim:    Credit Purchases
               Last 4 digits of account number      1580
                                                                                 Is the claim subject to offset?     No       Yes

     3.9       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $84,504.07
               Wells Fargo Bank, N.A.                                               Contingent
               P. O. Box 60510                                                      Unliquidated
               Los Angeles, CA 90060-0510
                                                                                    Disputed
               Date(s) debt was incurred 2019
                                                                                 Basis for the claim:    Line of Credit
               Last 4 digits of account number 7164
                                                                                 Is the claim subject to offset?     No       Yes

     3.10      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $16,800.00
               Wells Fargo Bank, N.A.                                               Contingent
               P. O. Box 60510                                                      Unliquidated
               Los Angeles, CA 90060-0510
                                                                                    Disputed
               Date(s) debt was incurred 2018
                                                                                 Basis for the claim:    Credit Purchases
               Last 4 digits of account number 1580
                                                                                 Is the claim subject to offset?     No       Yes



     Part 3:      List Others to Be Notified About Unsecured Claims

    4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.

       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

               Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                          related creditor (if any) listed?            account number, if
                                                                                                                                                       any

     Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

    5. Add the amounts of priority and nonpriority unsecured claims.

    Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 3
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     Debtor       Bimbo and Sons Corporation                                                          Case number (if known)       20-22209
                  Name

                                                                                                                      Total of claim amounts
     5a. Total claims from Part 1                                                                       5a.       $                          0.00
     5b. Total claims from Part 2                                                                       5b.   +   $                    149,741.22

     5c. Total of Parts 1 and 2
         Lines 5a + 5b = 5c.                                                                            5c.       $                      149,741.22




    Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 3 of 3
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                                                                   United States Bankruptcy Court
                                                                         Eastern District of California
     In re      Bimbo and Sons Corporation                                                                                Case No.       20-22209
                                                                                        Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS - AMENDED
    Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

     Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
     business of holder
     Balwinder Prasher                                                                    100%                                       Shareholder
     353 Rosebriar Place
     Lathrop, CA 95330


    DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

            I, the PRESIDENT of the corporation named as the debtor in this case, declare under penalty of perjury that I have
    read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



     Date June 23, 2020                                                          Signature /s/ BALWINDHER PRASHER
                                                                                                BALWINDHER PRASHER

                           Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                            18 U.S.C. §§ 152 and 3571.




    Sheet 1 of 1 in List of Equity Security Holders
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                                                   UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF CALIFORNIA

     In re                                                                     )
               Bimbo and Sons Corporation                                      )
                                                                               )
                                                                               )      Case No.     20-22209
                                                                               )
                                                                               )
                                                                               )


                                                   VERIFICATION OF MASTER ADDRESS LIST

          I (we) declare under penalty of perjury that the attached Master Address List is a true, correct,
    and complete list of creditors and their addresses in this case.

                I (we) acknowledge the following:

                Filing a Master Address List with incomplete or incorrect addresses may mean that creditor(s)
                with incomplete or incorrect address(es) may not receive notification of this Bankruptcy case.

                The debtor(s) and the debtor’s(s’) attorney or bankruptcy petition preparer, if any, share
                responsibility for the accuracy and completeness of the attached Master Address.

                The Court will use the addresses on the attached Master Address List for all items that the Court
                mails, and will not rely on other documents filed in this case (such as schedules and statements
                required by the Bankruptcy Code and the Federal Rules of Bankruptcy Procedure) to obtain or
                verify the addresses of creditors.


     DATED:                   June 23, 2020                                                 /s/ BALWINDHER PRASHER
                                                                                            Debtor's Signature


    Submit this form and your Master Address List to one of the following addresses:

     Sacramento Division                                           Modesto Division                      Fresno Division
     501 I Street, Suite 3-200                                     Mailing Address:                      2500 Tulare Street, Suite 2501
     Sacramento, CA 95814                                          501 I Street, Suite 3-200             Fresno, CA 93721
                                                                   Sacramento, CA 95814

                                                                   Physical Address:
                                                                   1200 l Street, Suite 4
                                                                   Modesto, CA 95354




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                                Ally Financial
                                P. O. Box 380902
                                Minneapolis, MN 55438


                                Alpin Patel
                                c/o Bishop & Barry
                                A Professional Law Corporation
                                6001 Shellmound Street, Ste. 875
                                Emeryville, CA 94608


                                Bishop & Barry
                                A Professional Law Corporation
                                6001 Shellmound Street, Suite 875
                                Emeryville, CA 94608


                                BMO Transportation Finance
                                3925 Fountains Boulevard NE
                                Cedar Rapids, IA 52411


                                Brian Payton
                                c/o Bishop & Barry
                                A Professional Corporation
                                6001 Shellmound Street, Suite 875
                                Emeryville, CA 94608


                                Chase
                                P. O. Box 15548
                                Wilmington, DE 19886


                                Dominic Gittens
                                c/o The Kick Law Firm
                                815 Morage Drive
                                Los Angeles, CA 90049


                                KeepTruckin
                                55 Hawthorne Street
                                4th Floor
                                San Francisco, CA 94105


                                State Funds/NCCS
                                700 Leisure Lane
                                Attention: Luther Happ
                                Sacramento, CA 95815
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                                US Bank Equipment Finance
                                1310 Madrid Street
                                Marshall, MN 56258


                                Wabash National Financial Services
                                655 Business Center Drive, Suite 250
                                Horsham, PA 19044


                                Wells Fargo Bank, N.A.
                                P. O. Box 60510
                                Los Angeles, CA 90060-0510
